Exhibit B

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State of North Carolina
Department of Natural Resources and Community Development
Winston-Salem Regional Office

James G. Martin, Governor William W. Cobey, Jr., Secretary

DIVISION OF ENVIRONMENTAL MANAGEMENT
GROUNDWATER SECTION

November 28, 1989

L.W. Pritchett, Jr., Inc.
1549 West Webb Avenue
Burlington, N.C. 27217

SUBJECT: Notification of Federal Release Response
Requirements for Owners and Operators of
Underground Storage Tank Systems Containing
Petroleum or Hazardous Substances, Faircloth
Grocery, Route 6, Box 55-J, Burlington, N.C.

Dear Mr. Pritchett:

The North Carolina Department of Environment, Health,
and Natural Resources (DEHNR), Division of Environmental
Management (Division) is the implementing agency of the
Federal Underground Storage Tank Program for the State of
North Carolina under the authority of 42 U.S.C. 6991, et
seq. The applicable federal rules are found at Part 280 of
Title 40 of the Code of Federal Regulations (CFR).

On September 22, 1989, this office received
confirmation of a release from an underground storage tank
(UST) system ‘at Faircloth Grocery, Route 6, Box 55-d, =e
Burlington, N.C. This confirmation was in the form of soil
analysis for total petroleum hydrocarbons.

Our records show that you are the owner of the subject
UST system. Owners and operators of petroleum or hazardous
substance underground storage tank systems, in response to a
confirmed release, must comply with the attached federal
regulations. The following will give you some explanation
of the requirements.

ie 40 CFR 280.61, Initial Response. You have already
complied with paragraph (a); however, you must take the
required actions in paragraphs (b) and (c).

8025 North Point Boulevard, Suite 100, Winston-Salem, N.C. 27106-3295 © Telephone 919-761-2351

An Equal Opportunity Affirmative Action Employer Shofiner000002

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Department of Natural Resources and Community Development
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An Equal Opportunity Affirmative Action Employer
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2 40 CFR 280.62 Initial Abatement Measure and Site
Check. The Division is requiring you to take all six
measures set out in 40 CFR 280.62(a). The report required

in 40 CFR 280.62 is due on December 18, 1989.

a 40 CFR 280.63, Initial Site Characterization. The
Division is requiring you to submit a report including all
the information described in 40 CFR 280.63(a) as well as the
following: groundwater sample analysis from monitor well
constructed in area of leaking underground storage tank.

The groundwater sample should be analyzed as described in
the enclosed outline for Class II petroleum fuels. The
report is due on January 12, 1990.

4, 40 CFR 280.64, Free Product Removal. If you
detect the presence of free product, you must comply with
this regulation. You must remove free product to the
maximum extent practicable as determined by the Division.

If free product is present, the Division will require you to
submit a report in accordance with 40 CFR 280.64(d) which is
due on January 12, 1990.

5. 40 CFR 280.65, Investigation for Soil and
Groundwater Cleanup. The Division requests under 40 CFR
280.65(a)(4), that an investigation for soil and groundwater
cleanup is necessary. This investigation should determine
the full vertical and-horizontal extent of contamination and
should be submitted in a technical and field data report by
March 28, 1990.

T£ you fail to comply with any of the above
requirements, this matter may be referred to the U.S.
Environmental Protection Agency who may assess civil
penalties of up to $10,000.00 for each tank for each day of
violation under authority of 42 U.S.C. 699le(d).

You should also be advised that at any point after
reviewing the information submitted in compliance with 40 -.
CFR 280.61 through 40 CFR 280.65 the Division may require
you to submit additional information or to develop a
corrective action plan for responding to contaminated soils
and groundwater, under the authority of 40 CFR 280.66. You
will be notified of the decision in a separate letter.

If you have any questions, please contact me at the
letterhead address or telephone number.

Sincerely,

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Stephen Williams
Hydrogeologist I
SW/al
Enclosure
cc: Incident Management Unit
~WSRO

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